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                                         UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                             SAN ANTONIO DIVISION

                                                           §
FRANCISCO RIZO,                                            §
                                                           §
                            Plaintiff,                     §
                                                           §
v.                                                                              5:20-cv-00073
                                                           § Civil Action No. _______________
                                                           §
SANDBOX TRANSPORTATION, LLC,                               §
                                                           § JURY TRIAL DEMANDED
                           Defendant.                      §
                                                           §
                                                           §

                                           ORIGINAL COMPLAINT

             Francisco Rizo (“Plaintiff” or “Rizo”) brings this action against SandBox Transportation, LLC

     (“SandBox”) for unpaid overtime wages, seeking all available relief, including compensation, liquidated

     damages, attorneys’ fees, and costs, pursuant the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§

     201–19.

                                                    I.
                                                 OVERVIEW

             1.       This lawsuit seeks unpaid overtime wages pursuant to the FLSA, 29 U.S.C. §§ 201–19.

             2.       Plaintiff was a non-exempt employee who was paid an hourly rate and no overtime

     compensation.

             3.       Plaintiff routinely worked in excess of forty (40) hours per workweek; however,

     Plaintiff was not paid overtime of at least one and one-half his regular rate for all hours worked in

     excess of forty (40) hours each workweek.

             4.       The decision by SandBox not to pay overtime compensation to Plaintiff was neither

     reasonable nor in good faith.




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        5.       SandBox knowingly and deliberately failed to compensate Plaintiff overtime for all

hours worked in excess of forty (40) hours each workweek.

        6.       Plaintiff did not perform work that meets the definition of exempt work under the

FLSA.

        7.       Plaintiff therefore seeks to recover all unpaid overtime and other damages owed under

the FLSA.

                                                 II.
                                            THE PARTIES

        8.       Plaintiff Francisco Rizo (“Rizo”) worked for SandBox during the relevant time period.

Plaintiff Rizo did not receive overtime compensation for all hours worked in excess of forty (40) hours

each workweek.

        9.       SandBox Transportation, LLC (“SandBox”) is a Texas limited liability company and

may be served through its registered agent for service of process: C T Corporation System, 1999

Bryan St., Ste. 900, Dallas, Texas 75201-3136.

                                              III.
                                     JURISDICTION & VENUE

        10.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331

as this is an action arising under 29 U.S.C. §§ 201–19.

        11.      This Court has personal jurisdiction over SandBox because the cause of action arose

within this District as a result of SandBox’s conduct within this District.

        12.      Venue is proper in the Western District of Texas because this is a judicial district where

a substantial part of the events or omissions giving rise to the claim occurred.

        13.      Specifically, SandBox has maintained a working presence throughout the State of

Texas and Plaintiff Rizo worked in Kenedy, Karnes County, Texas, which is located within this

District and Division.



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        14.       Venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391.

                                               IV.
                                        ADDITIONAL FACTS

        15.       SandBox is a trucking company headquartered in Houston, Texas and provides local

sand, rock, gravel, and asphalt hauling and delivery services to the oil and gas industry throughout the

United States.1

        16.       SandBox’s primary service is the coordination of drilling sand and other materials into

the oil fields throughout the United States.

        17.       Plaintiff Rizo has worked for SandBox as a Fork Lift Operator since approximately

February 2018.

        18.       As a Fork Lift Operator, Plaintiff Rizo operated a fork lift to unload and stack the

boxes of sand delivered by truck to the wellsite. Plaintiff Rizo would also help load the sand into the

blender for use as a proppant.

        19.       Plaintiff Rizo was paid $21.00 per hour worked but did not receive overtime

compensation at the required rate of time-and-one-half for all hours worked over forty (40) each

workweek.

        20.       The FLSA mandates that overtime be paid at one and one-half times an employee’s

regular rate of pay.

        21.       Plaintiff Rizo regularly worked in excess of forty (40) hours per week without receiving

overtime compensation for all weeks in which he worked more than forty (40) hours.

        22.       Accordingly, SandBox’s pay policies and practices blatantly violated the FLSA.




        1   http://www.sandboxlogistics.com/sandbox_process.php.



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                                               V.
                                        CAUSE OF ACTION

A.      FLSA COVERAGE

        23.      All previous paragraphs are incorporated as though fully set forth herein.

        24.      At all times hereinafter mentioned, SandBox has been an employer within the meaning

of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

        25.      At all times hereinafter mentioned, SandBox has been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

        26.      At all times hereinafter mentioned, SandBox has been an enterprise engaged in

commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of the

FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in commerce or in the

production of goods for commerce, or employees handling, selling, or otherwise working on goods

or materials that have been moved in or produced for commerce by any person, or in any closely

related process or occupation directly essential to the production thereof, and in that those enterprises

have had, and have, an annual gross volume of sales made or business done of not less than

$500,000.00 (exclusive of excise taxes at the retail level which are separately stated).

        27.      During Plaintiff’s employment with SandBox, he provided services for SandBox that

involved interstate commerce for purposes of the FLSA.

        28.      In performing the operations hereinabove described, Plaintiff was engaged in

commerce or in the production of goods for commerce within the meaning of §§ 203(b), 203(i), 203(j),

206(a), and 207(a) of the FLSA. 29 U.S.C. §§ 203(b), 203(i), 203(j), 206(a), 207(a).

        29.      Specifically, Plaintiff was a non-exempt employee who worked for SandBox during

the relevant time period and was engaged in oilfield services that were directly essential to the

production of goods for SandBox and related oil and gas companies. 29 U.S.C. § 203(j).




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        30.       At all times hereinafter mentioned, Plaintiff was an individual employee engaged in

commerce or in the production of goods for commerce as required by 29 U.S.C. §§ 206–07.

        31.       In violating the FLSA, SandBox acted willfully, without a good faith basis and with

reckless disregard of applicable federal law.

B.      FAILURE TO PAY WAGES IN ACCORDANCE WITH THE FLSA

        32.       All previous paragraphs are incorporated as though fully set forth herein.

        33.       SandBox violated provisions of Sections 7 and 15 of the FLSA, 29 U.S.C. §§ 207, and

215(a)(2) by employing individuals in an enterprise engaged in commerce or in the production of

goods for commerce within the meaning of the FLSA for workweeks longer than forty (40) hours

without compensating such employees for hours worked in excess of forty (40) per workweek at rates

at least one and one-half times the regular rates.

        34.       Plaintiff has suffered damages and continues to suffer damages as a result of

SandBox’s acts or omissions as described herein; though SandBox is in possession and control of

necessary documents and information from which Plaintiff would be able to precisely calculate

damages.

        35.       Moreover, SandBox knowingly, willfully and in reckless disregard carried out its illegal

pattern of failing to pay Plaintiff overtime compensation. 29 U.S.C. § 255(a).

        36.       SandBox knew or should have known its pay practices were in violation of the FLSA.

        37.       SandBox is a sophisticated party and employer, and therefore knew (or should have

known) its policies were in violation of the FLSA.

        38.       Plaintiff, on the other hand, is an unsophisticated laborer who trusted SandBox to pay

overtime in accordance with the law.

        39.       The decision and practice by SandBox to not pay overtime was neither reasonable nor

in good faith.



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        40.      Accordingly, Plaintiff is entitled to overtime wages for all hours worked in excess of

forty (40) in a workweek pursuant to the FLSA in an amount equal to one-and-a-half times his regular

rate of pay, plus liquidated damages, attorneys’ fees and costs.

                                               VI.
                                         RELIEF SOUGHT

        41.      Plaintiff respectfully prays for judgment against SandBox as follows:

                 a.     For an Order pursuant to Section 16(b) of the FLSA finding Sandbox liable

for unpaid back wages due to Plaintiff, and for liquidated damages equal in amount to the unpaid

compensation found due to Plaintiff;

                 b.     For an Order awarding the costs and expenses of this action;

                 c.     For an Order awarding attorneys’ fees;

                 d.     For an Order awarding pre-judgment and post-judgment interest at the highest

rates allowed by law;

                 e.     For an Order compelling the accounting of the books and records of SandBox,

at SandBox’s own expense; and

                 f.     For an Order granting such other and further relief as may be necessary and

appropriate.




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Date: January 17, 2020                  Respectfully submitted,

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